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                                 EXHIBIT 1

                           Email from Robert Phillips
          Chief Elections Officer, Duval County Supervisor of Elections
             Re Timing of 2023 Jacksonville City Council Elections
                                   June 21, 2022
       Case 3:22-cv-00493-MMH-LLL Document 24-1 Filed 07/01/22 Page 2 of 3 PageID 170
RE: NAACP v. COJ,/SOE (redistricting litigation)
Phillips, Robert <Phillips@duvalelections.gov>
Tue 6/21/22 8:36 AM
To:
       Giannini, MaryMargaret <MGiannini@coj.net>
Cc:
       Roberson, Helen <HRoberson@coj.net>;
       Harrell, Sonya <SonyaH@coj.net>
Good morning,

In order to proceed with the 2023 general consolidated government elections, the Supervisor of Elections needs
to know the City Council district boundaries no later than Friday, December 16, 2022. The First Election of the
general consolidated government elections takes place on March 21, 2023, with early voting starting on March 6,
2023. The General Election takes place on May 16, 2023, with early voting starting on May 1, 2023.

If you have any other questions please do not hesitate to let me know.

Best regards,


Robert Phillips – MFCEP, CERA
Chief Elections Officer
Duval County Supervisor of Elections
www.DuvalElections.com
phone: (904)255-3436
fax: (904)255-3434
cell: (904)219-1105




**Please note that under Florida's very broad public records law, communications to and
from city officials are subject to public disclosure**




Quis Custodiet Ipsos Custodies?



From: Giannini, MaryMargaret <MGiannini@coj.net>
Sent: Friday, June 17, 2022 1:32 PM
To: Phillips, Robert <Phillips@duvalelections.gov>
Cc: Roberson, Helen <HRoberson@coj.net>; Harrell, Sonya <SonyaH@coj.net>
Subject: NAACP v. COJ,/SOE (redistricting litigation)

Dear Robert,

I am writing in regard to the law suit recently filed against the City Council and the Supervisor of Elections challenging the
constitutionality of the newly drawn districts for City Council and School Board. What is the date upon which the
       Case 3:22-cv-00493-MMH-LLL Document 24-1 Filed 07/01/22 Page 3 of 3 PageID 171
Supervisor of Elections needs to know the appropriate district boundaries so that it can proceed with the 2023 general
consolidated government elections?

Of course, if you have any questions, please do not hesitate to let me know.

Many thanks,
Mary Margaret Giannini

Mary Margaret Giannini
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jurisdiction.
